          Case 1:19-cv-00778-CJN Document 47 Filed 07/30/20 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CAUSE OF ACTION INSTITUTE,

               Plaintiff,

                       v.                                     Civ. A. No. 19-778 (CJN)

UNITED STATES DEPARTMENT OF
COMMERCE,

               Defendant.


                          DEFENDANT’S RESPONSE TO
               PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendant, the U.S. Department of Commerce (“Commerce”), submits this filing to

respond briefly to Plaintiff’s Notice of Supplemental Authority, ECF No. 46. Plaintiff’s Notice

calls the Court’s attention to a July 14, 2020 decision from the U.S. Court of International Trade

invalidating a Proclamation issued by the President in August 2018 that imposed tariffs on steel

products from Turkey. See Transpacific Steel LLC v. United States, No. 19-00009, slip

op. 20-98 (July 14, 2020), ECF No. 46-1. This case has no bearing on the instant action under

the Freedom of Information Act (“FOIA”). Rather, Transpacific Steel concerned a statutory and

constitutional challenge to a different Presidential Proclamation (No. 9772) pertaining to a

different national security threat (importation of Turkish steel products) than the Presidential

Proclamation (No. 9888, pertaining to importation of automobiles and certain automobile parts)

issued following the President’s receipt of the Section 232 Report sought by Plaintiff in this case.

Id. at 2. Nor does Transpacific Steel have any bearing on Defendant’s obligations under the

Freedom of Information Act (“FOIA”), and the court’s opinion explicitly disavows interpreting

the disclosure requirement for Section 232 Reports under 19 U.S.C. § 1862(b). See id. at 5 n.5
          Case 1:19-cv-00778-CJN Document 47 Filed 07/30/20 Page 2 of 4




(“Plaintiffs do not raise this issue [the § 1862(b) disclosure obligation] and we do not rely on

it.”). In short, the case has nothing to say about whether Plaintiff is entitled to obtain the

Section 232 Report pursuant to a FOIA request.

       Plaintiff’s arguments to the contrary are unavailing. To begin, Plaintiff asserts that, as

the court held in Transpacific Steel, the President must act in compliance with the timelines set

in Section 232. See Pl.’s Notice of Suppl. Auth. (“Pl.’s Notice”), ECF No. 46, at 2. But

Defendant has not violated any of these timelines, and Plaintiff cannot argue otherwise. With

regard to disclosure of the Section 232 Report, the statute simply states that “[a]ny portion of the

report . . . which does not contain classified information or proprietary information shall be

published in the Federal Register,” 19 U.S.C. § 1862(b)(3)(B), but it does not specify a date by

which such publication must occur. See also Mem. Op. for the Dep. Counsel to the Pres.,

Publication of a Report to the President on the Effect of Automobile and Automobile-Part

Imports on the National Security (“OLC Opinion”), ECF No. 31-1, at 4 (observing that Section

232 does not “address the timing of publication when, as here, the President acts on the report’s

recommendations by directing negotiations with foreign countries”). Most relevant to this case,

Section 232 contains no deadline by which Commerce must disclose the report in response to a

FOIA request, especially where the agency has validly asserted two privileges over the Report.

See, e.g., Def.’s Suppl. Br. in Supp. of Its Mot. for Summ. J. and Opp’n to Pl.’s Mot. for Summ.

J. (“Def.’s Suppl. Br.”), ECF No. 44, at 3-4 (discussing application of the presidential

communications and deliberative process privileges).

       Contrary to Plaintiff’s assertion, see Pl.’s Notice at 2-3, the ruling in Transpacific Steel

that the President may not issue a second Proclamation absent issuance of an additional Section

232 Report is of no import here. The President is not trying to use the Section 232 Report for




                                                  2
          Case 1:19-cv-00778-CJN Document 47 Filed 07/30/20 Page 3 of 4




any other purpose. Rather, Commerce has asserted privilege over the Report so as not to risk

compromising ongoing international negotiations. See OLC Op. at 7-14.

       Next, Plaintiff relies on dicta in Transpacific Steel to argue that disclosure of the Section

232 Report is necessary because it “would be an important part of the administrative record” in a

case challenging a factual determination by the Secretary of Commerce that continued

importation of an article presents a national security threat. Pl.’s Notice at 3. Whatever merit

this interpretation of Transpacific Steel might have, it is not this case: Plaintiff has not sought

judicial review of the Secretary of Commerce’s factual determination about the national security

threat posed by the continued importation of automobiles and certain automobile parts. Plaintiff

is a “government oversight organization” and, by its own admission, a frequent requester of

public records, see Compl., ECF No. 1, ¶ 4, that has sought the Section 232 Report by filing a

FOIA request. Its ability to access the Report must therefore be determined by applying the

relevant legal standards pursuant to that statute, not those that might apply in a hypothetical

challenge to the Secretary’s findings of fact and that may or may not involve compilation of an

administrative record and the exclusion of any privileged material from that record. The dicta

cited by Plaintiff contemplates a cause of action materially distinct from a FOIA cause of action.

       For its final argument, Plaintiff cites a footnote from Transpacific Steel in which the

court surmised that, if it were to allow the Secretary of Commerce to “skirt” his statutorily-

imposed obligation to make factual findings and issue a report, it would “potentially pose

delegation problems.” Pl.’s Notice at 3-4. 1 According to Plaintiff, this observation by the court



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        Plaintiff’s inference that, under Transpacific Steel, publication of the Section 232 Report
in the Federal Register is “an important safeguard” without which there may be delegation
concerns, see Pl.’s Notice at 3, is unsupported by the court’s opinion. Footnote 9 of the opinion
(the passaged cited by Plaintiff for this assertion) makes no reference to § 1862(b)(3)(B)'s



                                                  3
          Case 1:19-cv-00778-CJN Document 47 Filed 07/30/20 Page 4 of 4




bolsters amici’s contention that Congress needs the Section 232 Report “to conduct oversight

and legislate” and that “an injured member of the public” needs the Report “to challenge tariff

action or the findings of a secretarial investigation.” Id. at 4. But the needs of a FOIA

requester—let alone the needs of nonparties such as aggrieved Congressmen and unidentified

“injured member[s] of the public”—are not relevant to the analysis of whether an agency has

properly withheld a document pursuant to Exemption 5, as Commerce has done . See Def.’s

Suppl. Br. at 5-6 (explaining why the needs of a requester are irrelevant to the Exemption 5

analysis). Here, too, Transpacific Steel has no relevancy to the issues to be resolved in this case.

        For these reasons, Transpacific Steel should play no role in the Court’s analysis in this

case.

Dated: July 30, 2020                          Respectfully submitted,

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publication requirement, and the court made clear that it was not addressing that requirement
earlier in the opinion. See Transpacific Steel, slip op., at 5 n.5.


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